           Case 6:18-bk-15795-RB Rod
                                   Doc  69 Filed
                                     Danielson,      10/02/23
                                                 Chapter          Entered
                                                         13 Standing Trustee10/02/23 06:47:11                               Desc
                                                 Page  1 of 1
                                 3787 University Avenue, Riverside, CA 92501
                                                         Tel. (951) 826-8000

                                 STATUS REPORT - CASE #6:18-bk-15795-RB AS OF 9/30/2023


                                                                                                                          TOTAL RECEIPTS PER
                                                                                                LAST 12 RECEIPTS         MONTH - LAST 12 MONTHS

                                                                                                06/05/23   $2,400.00    10/2023         $0.00
                                                                                                05/17/23   $1,550.00    09/2023         $0.00
                                                                                                04/12/23   $1,550.00    08/2023         $0.00
                                                                                                                        07/2023         $0.00
                                                                                                03/13/23   $1,550.00
                                                                                                                        06/2023     $2,400.00
        WANDA GONZALEZ                                                                          02/17/23   $1,550.00
                                                                                                                        05/2023     $1,550.00
        FILIBERTO MARQUEZ GONZALEZ                                                              01/24/23   $1,550.00    04/2023     $1,550.00
        10937 BLACKWOOD COURT                                                                   12/20/22   $1,550.00    03/2023     $1,550.00
        FONTANA, CA 92337                                                                       11/18/22   $1,550.00    02/2023     $1,550.00
                                                                                                10/18/22   $1,550.00    01/2023     $1,550.00
                                                                                                09/14/22   $1,550.00    12/2022     $1,550.00
                                                                                                08/09/22   $1,550.00    11/2022     $1,550.00
                                                                                                07/12/22   $1,550.00
 CURRENT CASE DISPOSITION: ACTIVE


 FILING DATE:              07/11/2018         MONTHLY PLAN PMT AMT:                $1,529.00   FEES PAID TO ATTY:                    $4,350.00
 1ST MEETING DATE:         08/15/2018         GROSS RECEIPTS:                     $97,023.00   FEES PAID TO TRUSTEE:                 $6,230.48
 CONFIRMATION DATE:        09/13/2018         REFUNDS FR CREDITORS:                    $0.00   REFUNDS TO DEBTORS:                       $0.00
 TERM OF PLAN:             60 MONTHS          NET PAID CREDITORS:                 $86,442.40   BALANCE ON HAND:                          $0.12
 PERCENT TO UNSEC.:        90.80%
                                                                        SCHEDULED       CLAIMED      PRINCIPAL         INTEREST      PRINCIPAL
CLM#   CREDITOR NAME                 CREDITOR CLASS           INT%         AMOUNT       AMOUNT            PAID               PAID    BAL OWED
ATTY   HESTON & HESTON, ATTORNEYS AT LAW
                                     ATTORNEY FEE              N/A        $4,350.00    $4,350.00      $4,350.00             $0.00        $0.00
0001   AMERICAN HONDA FINANCE CORPORATION
                                     SECURED                   4.00       $5,694.00    $5,695.50      $5,695.50           $436.20        $0.00
0002   NEWREZ LLC                    MORTGAGE ARREARS          0.00      $27,802.18   $27,902.73     $27,902.73             $0.00        $0.00
0003   TOYOTA MOTOR CREDIT CORP      SECURED                   6.25      $19,888.00   $19,415.68     $19,415.68         $2,346.99        $0.00
0004   SAN BERNARDINO COUNTY DEPARTMENT
                                     CHILDOF
                                           SUPPORT             0.00         $850.00        $0.00          $0.00             $0.00        $0.00
0005   BANK OF AMERICA NA            UNSECURED                 0.00       $4,137.00    $4,137.06      $3,756.45             $0.00        $0.00
0006   CHASE CARD                    UNSECURED                 0.00       $2,338.00        $0.00          $0.00             $0.00        $0.00
0007   ENHANCED RECOVERY COMPANY LLC UNSECURED                 0.00         $117.00        $0.00          $0.00             $0.00        $0.00
0008   RESURGENT CAPITAL SERVICES    UNSECURED                 0.00       $6,772.00    $6,771.89      $6,148.88             $0.00        $0.00
0009   MIDLAND CREDIT MANAGEMENT, INC.UNSECURED                0.00       $2,402.00    $2,401.79      $2,180.83             $0.00        $0.00
0010   MIDLAND CREDIT MANAGEMENT, INC.UNSECURED                0.00       $4,833.00    $4,883.37      $4,434.10             $0.00        $0.00
0011   MIDLAND CREDIT MANAGEMENT, INC.UNSECURED                0.00       $1,108.00    $1,107.99      $1,006.05             $0.00        $0.00
0012   PORTFOLIO RECOVERY ASSOCIATESUNSECURED
                                       LLC                     0.00       $5,963.00    $5,963.26      $5,414.64             $0.00        $0.00
0013   PORTFOLIO RECOVERY ASSOCIATESUNSECURED
                                       LLC                     0.00       $2,610.00    $2,609.64      $2,369.55             $0.00        $0.00
0014   SYNCB/LOWES                   UNSECURED                 0.00         $356.00        $0.00          $0.00             $0.00        $0.00
0015   PORTFOLIO RECOVERY ASSOCIATESUNSECURED
                                       LLC                     0.00           $0.00    $3,611.67      $3,279.40             $0.00        $0.00
0016   ANTERO CAPITAL LLC            UNSECURED                 0.00           $0.00    $2,263.66      $2,055.40             $0.00        $0.00
                                                                                TOTAL PRINCIPAL BALANCE OWED*:                            $0.00
 * THE "TOTAL PRINCIPAL BALANCE OWED" IS NOT THE AMOUNT NECESSARY TO PAY YOUR PLAN IN FULL . IT DOES NOT TAKE INTO ACCOUNT ANY BALANCE ON
 HAND, NOR DOES IT INCLUDE TRUSTEE'S FEES (ESTIMATED AT 11%), ACCRUING INTEREST, ANY CLAIMS THAT THE TRUSTEE IS NOT AWARE OF, OR "BASE
 PLAN" REQUIREMENTS. TO OBTAIN AN ESTIMATED PAYOFF BALANCE, PLEASE SUBMIT A WRITTEN REQUEST TO THE TRUSTEE.




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